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             July 12, 2019

             VIA CM/ECF AND FEDERAL EXPRESS

             The Honorable Elizabeth S. Stong
             United States Bankruptcy Court
             Eastern District of New York
             Conrad B. Duberstein Courthouse
             271–C Cadman Plaza East, Suite 1595
             Brooklyn, New York 11201

                        Re:    Homaidan v. Sallie Mae, Inc., et al., No. 17-1085-ESS: July 15, 2019
                        Status Conference

             Dear Judge Stong:

                     I write on behalf of counsel for Navient Solutions, LLC, Navient Credit Finance
             Corporation, and Sallie Mae, Inc. (the “Defendants”) regarding the above-captioned
             action. Specifically, I write in regard to the status conference in the Homaidan matter on
             July 15, 2019 at 3pm. Counsel to Plaintiff and counsel to Defendants have agreed to defer
             addressing discovery issues at the status conference in order to continue negotiations
             towards a consensual resolution. Therefore, no contested matters are set to go forward
             at the status conference.

                   I will be unable to attend the status conference due to conflicting client
             commitments. Additionally, Tom Farrell, K. Elizabeth Sieg and Joseph A. Florczak will
             be outside of the New York area that day. I therefore write to seek your permission for
             the undersigned counsel to Defendants to participate and listen to the July 15 status
             conference by telephone.


                        Thank you for Your Honor’s consideration.




                                                             [Signature follows on next page.]



                 Atlanta | Austin | Baltimore | Brussels | Charlotte | Charlottesville | Chicago | Dallas | Houston | Jacksonville | London | Los Angeles - Century City
                  Los Angeles - Downtown | New York | Norfolk | Pittsburgh | Raleigh | Richmond | San Francisco | Tysons | Washington, D.C. | Wilmington, NC
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Dated: July 12, 2019                       Respectfully,

                                           /s/ Shawn R. Fox
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                                           Counsel for Defendants




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                             CERTIFICATE OF SERVICE

       I certify that on this 12th day of July, 2019, I filed the foregoing document with the
Clerk of Court using the CM/ECF system, which will send a notification of such filing to
all counsel of record.


                                                  /s/ Shawn R. Fox
